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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
                           )
             v.            )                          Case No. 1:21-cr-00153 (RBW)
                           )
DANIEL GOODWYN,            )
                           )
                Defendant. )

DEFENDANT'S REPLY TO GOVERNMENT OPPOSITION RESPONSE TO MOTION
    IN LIMINE TO PRECLUDE IRRELEVANT WITNESSES AND EVIDENCE

       Comes now the Defendant, Daniel Goodwyn, by and through undersigned counsel, and

replies to the Government's response at ECF No. 67 to his motion at ECF No. 61. Mr. Goodwyn

adopts and incorporates, and requests that the Court review the closely related arguments in his

opposition response at ECF No. 68 and his ECF No. 73 reply to Government opposition; and

respectfully moves this Court to grant Mr. Goodwyn's ECF No. 61 motion where he replies in

support as follows:


       This reply incorporates Mr. Goodwyn's opposition response at ECF No. 68 regarding what

the Government wants to call 'intrinsic evidence" and his reply at ECF No. 73 to Government

opposition to precluding use of certain language, terms, and false associations because there is a

great deal of overlap that is relevant to this reply, and for the purposes of brevity herein.

       SUMMARY: In its opposition to Mr. Goodwyn's motion at ECF No. 61, the Government

makes similar, if not the same arguments that it made against precluding certain language, terms,

and false associations. Up front, the Government wants to present witness testimony, video, audio,

and potentially documents that are about other people and events at the Capitol on January 6, 2021

that have nothing to do with proving the elements of the charges for which Mr. Goodwyn is

indicted. The Government wants to be able to present crowd chants, conflict in the west terrace
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tunnel, clashes between protestors and police, shouting in the building, damage to doors and

windows, and anything anyone did and said before or on January 6, 2021 despite none of this being

seen or involving Mr. Goodwyn. The Government is arguing that convicting Mr. Goodwyn must

include the words and actions of others where he was in no conspiracy, joint venture, or acting as

an accomplice. This is not "relevant" evidence to the charges against Mr. Goodwyn. The

government overcharged Mr. Goodwyn and because it has such a weak case, wants the Court to

approve evidence about others' words and activity that does nothing but appeal to jury emotion,

with the result being an unfairly prejudiced and confused jury that is likely to convict Mr.

Goodwyn based on others' words and actions for crimes he is not charged with. In the process, the

Government knows it can create unfair prejudice when what it wants to show about others has zero

tendency to prove any fact related to the charges and elements it must prove against Mr. Goodwyn.

       INACCURACIES IN THE GOVERNMENT'S FACTS AND PROCEDURAL

BACKGROUND:           The Government spent four pages of its response repeating a Factual

Background it used in other motions and responses where many of the facts read like an

abbreviated version of the hundreds of cookie cutter FBI affidavits about January 6, 2021. The

facts included about Mr. Goodwyn have many errors. The Government tagged on a short

procedural history section. That has inaccuracies about the difference between the initial and

superseding indictments. Both sections contain the errors and inaccuracies as found in the

Government's response at ECF No. 66 to preclude certain language, terms, and false associations.

Mr. Goodwyn's reply at ECF No. 73 addressed the inaccuracies and will not repeat those here. Mr.

Goodwyn stipulates to no facts as presented at this time, especially because it seems the standard

from DOJ and its FBI is "good enough for government work." From Mr. Goodwyn's perspective,

a higher standard of accuracy should apply where liberty, truth, and justice are implicated.




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    WHAT THE MOTION SOUGHT TO PRECLUDE AS IRRELEVANT, NON-
PROBATIVE, UNFAIRLY PREJUDICIAL, AND INFLAMMATORY:

       A. Actions and Interactions of Law Enforcement Officers With Other Protestors at the
Capitol on January 6, 2021, Should be Excluded Unless the Actions Specifically Involve
Mr. Goodwyn.

      B. Crowd Actions at Other Sites and Events Whether On or Off the U.S. Capitol
Grounds Should Be Excluded if There is No Direct Involvement by Mr. Goodwyn.

       C. Any threats perceived by members of Congress from protestors Should Be Excluded

       D. Any Expert Witness on Crowd Violence and Threats Should Be Excluded.

       E. Any Testimony or Other Evidence Concerning Police Injuries Should Be Excluded.

       F. Any witness testimony or evidence related to damage to any doors, windows, or
property in the Capitol Should Be Excluded.

     G. Claiming or Insinuating that Mr. Goodwyn Ever Had Direct Contact or
Communications with President Trump Should be Excluded Because it is False.

       H. Actions and Words by Others That Manufactures Unconstitutional Guilt by
Association as to What Others Did, Said, or Otherwise Opined Should Be Excluded.

   The rationale for each of the above was contained in the motion.

                                          ARGUMENT

       The Government's argument that it must show other "rioter's" actions is its attempt
to convict Mr. Goodwyn for a crime not charged and without proving its case on any of the
crimes charged.

       First, the Government has no evidence that Mr. Goodwyn was a rioter, and he is not

charged with rioting. He did not riot. The term can only be inflammatory when the crime is not

charged.

       The argument that the actions and intent of others who were rioting must be shown for

context is inapposite to American justice standards where except for strict liability and

conspiracy, a crime requires the individual defendant to have intent to achieve the purpose of the

crime and to act. He is not charged with rioting. “All crimes require some kind of intent. Intent



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means that a person had a purpose to do a thing. It means that he . . . acted with the will to do a

thing. It means that he . . . acted consciously or voluntarily, and not inadvertently or

accidentally.” U.S. v. Baird, 778 F. Supp. 534, 537 (D.D.C. 1990). There is no probative value to

the crimes Mr. Goodwyn is charged with in showing what the government declares rioting by

others. By using "rioting" and "rioter" and other pejorative labels and terms with victim

testimony, audio, and video totally unrelated to Mr. Goodwyn's circumstances, the Government

wants the jury to become emotional, confused, and unfairly biased, and to convict Mr. Goodwyn

for a crime not charged because the Government cannot prove what was charged.

       None of the crimes Mr. Goodwyn is charged with involve context of what was happening

elsewhere or what was being done by people he knew nothing about, did not act in concert with,

and where the acts were not known or visible to him. There is no "context" to the charge of

knowingly entering a restricted area that requires showing "rioting. " The defense must conduct a

mini trial within the trial so that Mr. Goodwyn is not denied due process and convicted for the

actions of others for a crime he is not charged with. The Government wants to confuse and

mislead the jury into convicting Mr. Goodwyn based on the acts of others and not for proven

intent and all elements related to acts by Mr. Goodwyn for each charge.

       The Government's allegation on page 6 of its response that Mr. Goodwyn does not get to

use the "mob" as a sword and shield is puzzling because he does not believe he saw a mob, he

did not "storm" the Capitol as claimed by the Government, and he has made no attempt to use

anyone as a sword or shield. Mr. Goodwyn offers no further comment on the gratuitous

statement and its inappropriate language, other than noting it exemplifies the Government's

intended strategy of appealing to jury emotion rather than presenting proven, accurate facts and

evidence.




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       The prosecution cannot state with straight face that anyone on the jury needs to be

presented with the imagery, audio, and testimony about January 6, 2021 that has inundated D.C.

in every form of media and news since January 6, 2021. If there was such a case of a recent

arrival from outer space, we might stipulate to use of a preemptory challenge. There is no

probative value in what happened elsewhere on the grounds by others, and none of it makes any

fact surrounding Mr. Goodwyn's intent or actions more likely than not. The evidence and witness

testimony the Government wants to use for "context" is irrelevant. None of what the Government

wants to be able to introduce provides any proof for any element of what Mr. Goodwyn has been

charged with. There is no limiting instruction that can make images and words unseen and

unheard, especially when their use was designed to elicit an emotional response from jury

members who can be considered victims of the aftermath National Guard occupation of the city.

Evidence used to appeal to jury emotion that has no probative value in impermissible.

       There is no legal standard in criminal law for individual criminal charges where the

alleged actions must be shown under an umbrella and context of everything else happening in the

area, especially regarding people and activity a defendant was unaware of and was not directly

part of a defendant's intent and actions. Showing the jury people breaking windows, snippets of

protestors cursing at police, a crowd pushing back against police at the west terrace "tunnel,"

people pushing down bicycle racks, and a crowd in the rotunda or crypt are not "context"

regarding Mr. Goodwyn. He did not do those things, was not with people who did those things,

and was unaware of that activity. This type "evidence" that had nothing to do with where Mr.

Goodwyn was located and the peaceful crowd he was near can only be unfairly prejudicial with

no probative value to balance against.




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       The Government refers to all protestors as a "mob," "insurrectionists," "extremists,"

"rioters," and a number of other names without proving the terms are fitting. The Government

bombards juries and the media with these terms. Mr. Goodwyn did not "riot" and he was not part

of a "mob." The Government falsely claims that Mr. Goodwyn was a rioter and part of a mob.

This is unsupported and is precisely the inflammatory language the government relies upon to

convict Mr. Goodwyn rather than proving all elements of all the charges in the indictment.

       Mr. Goodwyn's Motion is Not Premature. Mr. Goodwyn entered his motion because

the Government has made introduction of irrelevant and unfairly prejudicial items as listed in the

motion its modus operandi for jury trials. If denied right before trial, the defense will not have

the time to prepare a strategy to counter what should not be admitted. And the Court should

consider making the Government prove its case rather than allowing the Government to deny

him due process by offering the jury an option for an uncharged "terrorist, insurrectionist, rioter,

mob member et al" who was not charged with those crimes to instead convict him of crimes the

Government cannot prove. Unfair prejudice, inflammatory irrelevant "evidence," and highly

charged emotions on a jury comprised of victims open the door wide to such an outcome.

       Nothing Mr. Goodwyn did or said caused an injury to law enforcement. As in the

preceding argument, the Government wants to be allowed to create unfair prejudice and an

emotional jury. Bringing in a crying police officer who claimed injuries where Mr. Goodwyn

was in no way involved has zero probative value. the Government's argument in ECF 67 at 8

states it needs to do this to show there was a riot. Mr. Goodwyn is not charged with rioting,

inciting a riot, or violence. As stated above, the Government wants the jury to convict him of

rioting. And the Government's illogical argument that (protest or) rioting by others outside the

building or inside where Mr. Goodwyn was never present is part of proving Section 1512(c)(2)




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contradicts the fundamentals of American law. This is not a civil suit tort for negligence. Either

Mr. Goodwyn individually committed the crimes charged or not. Further, law enforcement

injuries had nothing to do with the departure of Congress. They did not depart because law

enforcement injuries occurred. Yet again the Government proves that there is no limit to what it

can claim violates Section 1512(c)(2). In its response, the Government asserts that actions by

others who injured USCP somewhere where even though Mr. Goodwyn has no involvement, he

is guilty of violating Section 1512(c)(2) even though he was outside where he believed he could

be among a peaceful group of protestors. The Government's lack of logic is mind boggling.

       On page 8 of its response the Government wants to introduce evidence of chants by the

"mob." The Government asserts that it is relevant if Mr. Goodwyn was merely present. This is

another instance of the Government ignoring legal standards that require an individual act.

Despite the fact that any chants were protected speech, Mr. Goodwyn did not participate. His

statement about going inside "for this to work" was about supporting Senator Cruz and

objections. The Government's false assertion that chants anywhere by the crowd had anything to

do with Section 1512(c)(2) is astounding. Additionally, on page 9 the Government just fabricates

that Mr. Goodwyn would have seen police battling with rioters, using riot control measures, and

being injured. This is false and unethical fabrication. Mr. Goodwyn's approach to the Senate

wing door gave no such imaginary view of battles, and instead was observed by a group of police

who stood by watching, casually. The Government asserts that Mr. Goodwyn encouraged a mob

to enter, and this shows his intent to obstruct a Congress that was long departed by 3:32 pm. As

stated in ECF No. 73, the Defense will put forth mini trials to counter fabrications the

government wants to parade as evidence if it is allowed to try to obtain a conviction by lies, and

irrelevant and unfairly prejudicial material.




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       The Government is manufacturing impermissible aiding and abetting evidence in

contradiction of Rosemond. This is addressed in ECF No. 73 and will not be repeated here. The

above paragraph and the Government's assertion that damage caused by others provides evidence

of guilt for the 1512(c)(2) contradict Rosemond.

       Damage caused to the building cannot be attributed to Mr. Goodwyn. The Defense

prefers to argue against the false logic in a hearing that damage outside the building caused

Congress to flee, and therefore Mr. Goodwyn who neither saw nor participated in causing

damage is guilty of violating Section 1512(c)(2).


CONCLUSION:

       Wherefore, because the Government has no legitimate reason to enter irrelevant, non-

probative, unfairly prejudicial, and emotional-only evidence, the Court should preclude such

evidence and grant Mr. Goodwyn's motion at ECF No. 62.




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Dated November 14, 2022                             Respectfully submitted,
                                                   /s/ Carolyn A. Stewart

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Dated November 14, 2022                             Respectfully submitted,

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                               CERTIFICATE OF SERVICE

     I hereby certify on the 14th day of November 2022, a copy of the foregoing was served

upon all parties as forwarded through the Electronic Case Filing (ECF) System.



                                            /s/ Carolyn A. Stewart
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